











Opinion issued July 22, 2004.











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–04–00226–CV
____________

IN RE ROGER DUANE RASBACH, JR., Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator, Roger Duane Rasbach, Jr.,  has filed a petition for a writ of mandamus
complaining of Judge Linda Motheral’s order vacating a default judgment entered
against Jane Phillips, real party in interest.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for a writ of mandamus. 
PER CURIAM
Panel consists of Justices Taft, Jennings, and Hanks.


